Case: 1:22-cv-00084-MWM Doc #: 25-2 Filed: 03/08/22 Page: 1 of 2 PAGEID #: 1032




                Exhibit 1
Case: 1:22-cv-00084-MWM Doc #: 25-2 Filed: 03/08/22 Page: 2 of 2 PAGEID #: 1033

                                SECRETARY OF DEFENSE
                               1 000 DEFENSE PENTAGON
                              WASHINGTON , DC 20301 - 1000

                                                                                 AUG O9 2021

MEMORANDUM FOR ALL DEPARTMENT OF DEFENSE EMPLOYEES

SUBJECT: Message to the Force

       As many of you know, President Biden asked me to consider how and when we might
add the coronavirus disease 2019 (COVID-19) vaccines to the list of those required for all
Service members. So, over the last week, I have consulted closely with the Chairman of the
Joint Chiefs of Staff, the Secretaries of the Military Departments, the Service Chiefs, and
medical professionals. I appreciate greatly the advice and counsel they provided.

       Based on these consultations and on additional discussions with leaders of the White
House COVID Task Force, I want you to know that I will seek the President' s approval to make
the vaccines mandatory no later than mid-September, or immediately upon the U.S. Food and
Drug Agency (FDA) licensure, whichever comes first.

       By way of expectation, public reporting suggests the Pfizer-BioNTech vaccine could
achieve full FDA licensure early next month.

       The intervening few weeks will be spent preparing for this transition. I have every
confidence that Service leadership and your commanders will implement this new vaccination
program with professionalism, skill, and compassion. We will have more to say about this as
implementation plans are fully developed.

         In the meantime, we will comply with the President's direction regarding additional
restrictions and requirements for unvaccinated Federal personnel. Those requirements apply to
those of you in uniform as well as our civilian and contractor personnel.

        We will also be keeping a close eye on infection rates - which are on the rise now due
to the Delta variant - and the impact these rates might have on our readiness. I will not hesitate
to act sooner or recommend a different course to the President ifl feel the need to do so.

        To defend this Nation, we need a healthy and ready force. I strongly encourage all DoD
military and civilian personnel - as well as contractor personnel - to get vaccinated now and
for military Service members to not wait for the mandate.                       '

       All FDA-authorized COVID-19 vaccines are safe and highly effective. They will protect
you and your family. They will protect your unit, your ship, and your co-workers. And they will
ensure we remain the most lethal and ready force in the world.

       Get the shot. Stay healthy. Stay ready.
